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                 EXHIBIT “A”
           Case 1:19-cv-10463-RA
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            OEPARTMENT                 EDUCATION,

                       Food and Drug Administration
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Mr. Clcnn P. Witte
International Associati<m of , .                           ,,,..:·.
 Ice Cream Manufac;:turer.s
9lO ·Sevente~nth Street, N.W'.
Washington, D.C.    20006
Dear I-Ir. l'litte:
This is in reply t.o your lette;r ·of May 11, 1979 conce-rning the
labeling of ice cream containing naturally derived non-vanilla
bean flavoring compounds to ·enh;lnce, ~imulate and/or intensift
flavor derived from vanilla b~~n.
the federal standard for ic;:e cream 21 CFR lSS.110, has, since
its promulgation in the early 19.60'.s, provided for a system for
designating charaeterhing flavors in ice cream which has come
to be J"efcrred to as the "3 category · flavor labeling". The
syste~ recognizes three distinct types of ice cream, based on
the use of natural and various cor.ie>inat ions of natural and
artificial flavors that characterize this food. The designation
of a characterizing flavor for category lice cream is based on
the premise that only natural flavor derived from the product
whose flavor is simulated may be used. The flavor designation
for category II ice creaJ11 is oh. the bnsis that the product con•
tains both natural and artificial flavor, but the natural flavor
predominates, whereas in cat_ego~y III the artificial flavor pre•
do111inates.                   ', ·
The definition and standard of identity as it pertains to the
designation of flavors in the identity statement for ice cream
was established long bafore the developraent of the general flavor
regul.!.tions pubti.~he-i under 21° CFR 101.22. C<>nsequent1y, the
lab..tlini requirements for the ~eclat'ation ?-1. £lavo:-s ~.n , ~e 1111,1,1\
of ice cream are specifically provided for by the standard. The
general flavor regulations, are ~ot applicable to this standardized
food.
While the requiremen,;s for flavor designation for ca.tegory I ice·
cream are not all inclusive as w:ritten, the historica.l and current
interpretation I believe is that the flavor agent for vanilla ice
cream (a category I product} · is• limited to vanilla bean and/or
flavor derived from vanilla beans.
It is our understanding thaf th.e re are available in the market
place, natural flavoring compounds that resemble, $imulate and/or
enhance vani 11 a flavor but ar.e.. not derived from vanilla bean. These
flavor compounds would not comply with the intent of tho flavor
provisions of Catogory l ice··cream. Howevel", they would qualify
for category II labeling (va~i1ln flavored ice cream) provided that
the flavor derived from vanilla beans predominates.
                                      Sincerely yours, .
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                                    , Taylor M. Quinn                                    ,
                                      Associate Director
                                        for Compliance
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